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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



 NEISA ORTEGA; and N.Z. by her next
 friend, Neisa Ortega,

                   Plaintiffs,
                                                           Civil Action No. 21-11250-FDS
 v.

 UNITED STATES CUSTOMS AND
 BORDER PROTECTION; CBP OFFICERS
 DOE 1-13; SUPERVISORY CBP OFFICERS
 DOE 1-3; CBP COMMISSIONER TROY A.
 MILLER1, in his official capacity; UNITED
 STATES DEPARTMENT OF HOMELAND
 SECURITY; DHS SECRETARY
 ALEJANDRO MAYORKAS, in his official
 capacity; and the UNITED STATES OF
 AMERICA,

                   Defendants.


                         PARTIES’ PROPOSED SCHEDULING ORDER

       Pursuant to Local Rule 16.1, the parties in the above-captioned action hereby submit this

Joint Statement.

I.     CASE MANAGEMENT: DISCOVERY AND MOTION PRACTICE

       A.      Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) shall be
               made by February 18, 2022.

       B.      Amendments to Pleadings. Except for good cause shown, no motions seeking
               leave to add new parties or to amend the pleadings to assert new claims or defenses
               may be filed after June 1, 2022.


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         Chris Magnus is Commissioner for U.S. Customs and Border Protection and should be
automatically substituted as a defendant in place of former Commissioner Miller, pursuant to Fed.
R. Civ. P. 25(d).
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C.    Fact Discovery – Interim Deadlines.

        1.   Initial written discovery requests (requests for production of documents,
             interrogatories and request for admissions) shall be served no later than May
             16, 2022.

        2.   All depositions, other than expert depositions, must be completed by
             November 30, 2022.

D.    Fact Discovery – Final Deadline. All discovery, other than expert discovery, must
      be completed by December 16, 2022.

E.    Fact Discovery Motions.

        1.   Plaintiff’s proposal. All fact discovery motions will be filed no later than
             January 13, 2023.

        2.   Defendants’ proposal. Except for good cause shown, motions to compel
             discovery, motions for protective orders, motions to quash, motions to strike
             discovery responses, and similar motions will be filed no later than the close
             of fact discovery or the close of expert discovery, whichever deadline is
             relevant.

F. Expert Discovery.

        1.   Plaintiffs’ trial experts must be designated, and the information
             contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by November
             1, 2022.

        2.   Plaintiffs’ trial experts must be deposed by January 16, 2023.

        3.   Defendants’ trial experts must be designated, and the information
             contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by December
             16, 2022.

        4.   Defendants’ trial experts must be deposed by February 28, 2023.

G.    Expert Discovery Motions.

        1.   Plaintiff’s Proposal. All expert discovery related motions will be filed no
             later than March 10, 2023.

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                2.    Defendants’ Proposal. Except for good cause shown, motions to compel
                      discovery, motions for protective orders, motions to quash, motions to strike
                      discovery responses, and similar motions will be filed no later than the close
                      of fact discovery or the close of expert discovery, whichever deadline is
                      relevant.

       H.      Dispositive Motions.

                1.    Dispositive motions, such as motions for summary judgment or partial
                      summary judgment and motions for judgment on the pleadings must be
                      filed by April 28, 2023.

                2.    Oppositions to dispositive motions must be filed within 30 days after
                      service of the motion.

II.    SETTLEMENT

        Plaintiffs will provide a written settlement proposal to Defendants no later than 14 days
before the date for the Scheduling Conference.

III.   TRIAL BY MAGISTRATE JUDGE

       At this time, the parties do not consent to trial by Magistrate Judge.

IV.    CERTIFICATIONS

       The parties and their counsel shall file at or before the Scheduling Conference their Local
Rule 16.1(D)(3) certifications.

V.     OTHER MATTERS

       A.      Discovery limits. Plaintiffs anticipate that they may require more than 10
               depositions of fact witnesses, particularly in light of the fact that there are 13 Doe
               defendants being sued in their individual capacities. If Plaintiffs believe that they
               will exceed the limits on the number of depositions allowed by the local rules they
               will attempt to reach an agreement with Defendants. At this time, Defendants
               oppose expanding the number of depositions beyond that afforded by the Federal
               Rules of Civil Procedure.




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Respectfully submitted,

                                           RACHAEL S. ROLLINS
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 Counsel for Plaintiffs                    CBP, and CBP Commissioner Troy A. Miller,
                                           DHS Secretary Alejandro Mayorkas




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                                  CERTIFICATE OF SERVICE


        I hereby certify that, on February 7, 2022, a copy of the foregoing document was filed

electronically and served by mail on anyone unable to accept electronic filing at this time. Notice

of this filing will be sent by email to all parties by operation of the court’s electronic filing system

or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the court’s CM/ECF system.



Dated: February 7, 2022                                    /s/ Reena Parikh
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